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v#,

                                        UN ITED STATES DISTRICT COURT
                                        SOUTHERN D ISTRICT OF FLORD A
                                          W EST PALM BEA CH DIV ISION                  F-      b
                                                                                               .7..    '
                                                                                                      - ..   .- - -.-- .   GC-
                                                                                                                            .
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                                           Case N o.:9:16-cv-81798-DM M                     N0y 29 2918
                                                                                                ENM.tznt
                                                                                            CL
                                                                                             S.E9K U.S.DI   t
                                                                                                         SXCT               '
                                                                                               D.ofFLA, -W.RB.                  '

          TTT FoodsH olding Com pany LLC,
          a Florida lim ited liability com pany,

                         Plaintiff,


          BEATRICE N A M M ,an individual,
          JONA THAN N AM M ,an individual,
          and DELUXE GOURM ET
          SPECIALTIES LLC,aN ew Jersey                       TR IA L BY JURY DEM AND ED
          lim ited liability com pany,

                         D efendants.


                                  A N SW ER A ND M 'FIRM ATIVE DEFENSE S

                 COM E N OW the Defendants,BEATRICE NA M M ,an individual,JON ATHAN NAM M ,
         !
         Ianindividual, ando st-uxE GoultM s-r spsclxta lssLt-c,ax ew Jersey lim ited Iiability

          company,byandthroughtheundersignedattorneys,andt5lethistheirAnnverandAffirmative
          Defenses,andstateinsupportthereofasfollows:
                                                     AN SW ER

                                 Allallegations in the A m ended Com plaintare denied unlessspecifcally

          adm itted herein.

                         2.      The allegationscontained in Paragraphs 1-6,10,20,21,26,39 and 1l7 of

          the Am ended Com plaintare adm itted.


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                              A sto Paragraph 13 and 14,adm itthaton January 2,2015,D efendant

        BEATRICE NAM M sued JeffreyBrandon andEricScholerforbreach ofcontract,oiherwise

        deny the rem aining allegations.

                              A sto Paragraph 15,Exhibit'$A''speaksforitself;otherw ise deny the

        iemaining allegations.

                              A sto Paragraph 16,adm itthata law suitw asfiled,otherwise deny the

        repainingallegations;theAnswer,Ay rmativeDefensesandCounterclaimstothecomplaint
        Gled by Plaintiffisattached hereto asExhibit;$A ''.

                              A sto Paragraph 17,Exhibit(CB''speaksforitself;otherw ise deny the

        rem aining allegations.

                              A sto Paragraph 18,Exhibit$dC''speaksfor itself;otherwisedeny the

        rem aining allegations.

                       8.     A sto Paragraph 19,ExhibitCID''speaks foritself;otherw ise deny the

        rem aining allegations.

                       9.     A sto Paragraph 22,Exhibitç$E''speaksforitself;otherwise deny the

        rem aining allegations.

                       10.    A sto Paragraph 23,ExhibitET ''speaksforitself;othelw ise deny the
        '
        rem aining allegations.

                       11.    A sto Paragraph 24,Exhibit$$G ''speaksforitself;otherw isedeny the

        rem aining allegations.

                       12.    Asto Paragraph 29,theorderreferred to w asobtained withoutnotice to


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        DefendantBEATRICENAMM thatshewouldbethesubjectmatterofthatorder,asarticulated
        indetailintheMotiontoSetAsideOrderEnteredonAugust16,2016andMotionforAttorney
        Feesand Costs attached hereto and incorporated herein asExhibitç% ''.

                                        AFFIRM ATIVE DEFEN SES

                             1'tAffirm ativeD efense:The transfersare notvoidable,and Defendants

        are notliable,because they were m ade in the ordinary course ofbusiness orfinancialaffairsof

        Bea'sBrooklyn'sBestLLC and/orororm ore ofthe D efendants.

                      14.    2ndA ffirm ativeD efense:Thetransfersare notvoidable,and D efendants

        are notliable,because Bea'sBrooklm 'sBestLLC received a reasonably equivalentvalue in

        exchange forthe alleged transfers.

                      15.    3rdA ffirm ative D efense:The transfersare notvoidableunder

        5726.105(1)(a),FloridaStatutes(2016),astoDefendantsorotherswhotookingoodfaithand
        fora reasonably equivalentvalue,oragainstany subsequenttransferee orobligee.

                      l6.    4th Affirm ativeD efense:The transfersw ere m adew ithoutan actual

        intentto hinder,delay ordefraud Plaintiff,butinstead in good faith and/orin the exercise ofgood

        businessjudgluent.
                             5tb Affirm ative Defense:The transfers are notvoidable under
        1
        5726.106(2),FloridaStatutes(2016),totheextentDefendantsgavenew valuetoorforthe
        benefitofBea'sBrooklyn'sBestLLC afterorbefore the transfersw ere m ade.

                      18.    6th Afnrm ative Defense:The transfers arenotvoidable under

        5726.10642),FloridaStatutes(2016),becausetheywere madeintheordinarycourseofbusiness

                                                Page 3 of 11
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    orûnancialaffairsofBea's Brooklyn'sBestLLC and/orD efendants.

                  19.     7thAffirm ative Defense:Thetransfers arenotvoidable under

    j726.106(2),FloridaStatutes(2016),becausetheyweremadepursuanttoagoodfaitheffortto
    rehabilitateBea'sBrooklyn'sBestLLC,and/orthetransferssecuredpresentvaluegiven forthat

    hurposeand/oranantecedentdebtofBea'sBrooklyn'sBestLLC.
                          8tbA ffirm ative Defense: N otwithstanding voidability ofa transferoran

    obligationunder59726.101-726.112,FloridaStatutes(2016),Defendants,asgoodfaith
    transferees,are entitled,to the extentofthe value given Bea'sBrooklyn'sBestLLC forthe

    transfers,to:(a)alienonorarighttoretainanyinterestintheassettransferred;(b)enforcement
    pfanyobligationincurred;and/or(c)areductionintheamountoftheliabilityonthejudgment.
    i
    I
                  21.     9thA ffirm ative D efense: Defendantsare entitled,to the extentofthe

    value given Bea'sBrooklyn's BestLLC forthetransfers,to a setoffsaid value from any aw ard

    to Plaintiff,ifany.

                  22.     10thA ffirm ative D efense: CountIattem ptsto allege a fraudulent

    conveyance action againstboth DefendantBEA TRICE N AM M and DefendantJONA THAN

    NAMM premisedonj726.105(1)(a),FloridaStatutes(2016).Count1failstostateacauseof
    pction.A challengebasedonFe#.R.Civ.P.12(b)(6)attacksthelegalsufficiencyofthe
    1
    èomplaint.seeFed.R.civ..
                           p.12(b)(6)(''gAjpartymayassertthefollowingdefensesbymotion:
    i
    k
    (6)failuretostateaclaim uponwhichreliefcanbegrantedl.l'').Itiswellestablishedthat''Etjo
    survive a m otion to dism iss,a com plaintm ustcontain suffcientfactualm atter,accepted astrue,

    to 'state aclaim to reliefthatisplausible on itsface.'''Ashcro.jtv.Iqbal,556U.S.662,129S.Ct.

                                             Page 4 of 11
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*




        1937,1949,173L.Ed.2d868(2009)(quotingBellAtl.Corp.v.Twombly,550U.S.544,570,
        127S.Ct.1955,167L.Ed.2d929(2007)).''UnderFederalRuleofCivilProcedure8(a)(2),a
        pleading m ustcontain a 'shortand plain statem entofthe claim show ing thatthepleaderis

        Jntitledtorelief.'''Iqbal,556U.S.662,129S.Ct.1937,1949,173L.Ed.2d868(2009)(quoting
        Fe
        I d.R.Civ.P.8)).W hileacomplaint'doesnotrequire'detailedfactualallegationsy'...it
        kemandsmorethan anunadorned,the-defendant-unlawfully-harmed-meaccusation.''ld.at
        1949(quotingTwombly,550U.S.at555).Pleadingsmustcontain''
                                                               m orethanlabelsand
        conclusions,and a fonuulaic recitation ofthe elem ents ofa cause ofaction w illnotdo.''

        Twombly,550U.S.at555.Indeed,''onlyacomplaintthatstatèsaplausibleclaim forrelief
        p
        purvivesamotiontodismiss.''1qbal,129 S Ct.at1950(citingTwombly,550U.S.at556).To
        i                                         .

        l                                                      .
        lneetthis''
                  plausibilitystandard,''aplaintiffmust''pleadljfactualcontentthatallowsthecourtto
        draw the reasonable inference thatthedefendantisliable forthem isconductalleged.''1d.at 1949

        (citingTwombly,550U.S.at556).''Themerepossibilitythedefendantactedunlawfullyis
        insufficientto survive a m otion to dism iss.''Sinaltrainalv.Coca-cola Co.,578 F.3d 1252,1261

        (1lthCir.2009)(citingIqbal,129S.Ct.at1949).Whenreviewingamotiontodismiss,acourt
        m ustconstrue the complaintin the lightm ostfavorableto theplaintiffand take the factual

        àllegationstherein and al1reasonable inferences drawn therefrom astrue.See frot?/c,
                                                                                          çv.Blue
        !

        C
        Iross(f:BlueShieldofFla.,Inc.,116F.3d1364,1369(11thCir.1997);Jacksonv.Okaloosa
        I
        County,FIa.,21F.3d1531,1534(11thCir.1994).Butpleadingsthat''arenomorethan
        conclusions,are notentitled to the assum ption oftruth.''Iqbal,129 S.Ct.at 1950. ''W hile legal
        I
        p usionscan provide thefram ew ork ofacom plaint,they m ustbe supported by factual
        çoncl


                                                 Page 5 of 11
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        allegations.''f#.;seealsoSinaltrainal,578F.3dat1260('d'lulnwarranteddeductionsoffact'ina
        complaintarenotadm itted astrueforthepurpose oftesting the sufficiency ofplaintiffs

        allegations.'d).TosurviveaFed.R.Civ.P.12(b)(6)motion,thecomplaintmustcontainenough
        factualmatter(takenastrue)to''raisegtheqrighttoreliefabovethespeculativelevel.''Twombly,
        550U.S.at 555.''lNlakedassertionsdevoidoffurtherfactualenhancement''willnotsatisfy
        Rule8(a)(2)'
                   srequirementofashortplainstatementoftheclaim showingthepleaderisentitled
        torelief.Iqbal,129S.Ct.at1949(citingTwombly,550U.S.at557)(internalquotations
        omitted).lnaddition,''aformulaicrecitationoftheelementsofacauseofactionwillnotdo.''1d.
        A plaintiffm ustplead ''factualcontentthatallowsthecourtto draw the reasonable inferencethat
         i
         l                                      fj                                   .
        !hedefendantisliablefortheconductalleged. Twombly,550U.S.at555.A merepossibility
        thatthe defendantacted in contravention to the 1aw w illnotsuffice.f#.A lthough a courtmust

        accepta1lwellpleaded facts astrue,itis notrequired to acceptlegalconclusions.Sinaltrainalat

        578 F.3d 1260.A com plaintm ustcontain sufscientfactualm atter,accepted astrue,to state a

        claim forreliefthatisplausible on its face.Iqbal,129 S.Ct.at1949. Countlfailsto state

        sufticientultim ate factsto establish a viable cause ofaction. Furtherm ore,itis im possible to

        decipherfrom the allegations in Countlwhich ofthe defendantsagainstw hom Count1isbeing

        broughtdid what,even though Count1isseeking to void a transferto one orthe otherdefendant.
        i
        llso,thereisno factualorlegalbasistoseektjointandseveral''liabilityinCount1.
        A
        l
        '
                       23.    11thA fnrm ative D efense: Count11attemptsto allegea fraudulent

        conveyance action againstboth DefendantBEA TRICE N AM M and DefendantJONA THAN
        i
        kAMM premisedonj726.10s(l)(b),noridastatutes(2016).countt:failstostateacauseot-
        i

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        action fora1lthe reasonsarticulated in the 10thA ffirm ativeD efense, supra,which are

        incorporated herein in theirentirety. Furtherm ore,itis im possible to decipherfrom the

        allegations in CountIw hich ofthe defendants againstw hom Count11isbeing broughtdid what,

        even though Count1is seeking to void a transferto one orthe otherdefendant. A lso,there isno
        j
        fractualorlegalbasistoseekSjointandseveral''liabilityinCountI1.
        !              24     12tbAffirm ativeDefense: Countlllattemptsto allegeafraudulent

        conveyance action againstboth DefendantBEATRICE NA M M and DefendantJON ATH AN

        NAM M premisedonj726.106(1),FloridaStatutes(2016).Count11lfailstostateacauseof
        action fora1lthe reasonsarticulated in the 10thA ffirm ativeD efense, supra,w hich are

        iyncorporated herein in theirentirety.' Furtherm ore,itis im possible to decipherfrom the
        I

        allegationsin Count1w hich ofthe defendants againstw hom CountIIIisbeing broughtdid what,

        even though Count1is seeking to void a transferto one orthe otherdefendant. A lso,there isno

        factualorlegalbasistoseektjointandseveral''liabilityinCount111.
        r
        '
        I
                       25.    13thA ffirm ative D efense: CountIV attem ptsto allege a fraudulent

        conveyance action againstboth DefendantBEATRICE NA M M and DefendantJON ATH AN

        NAM M premisedon5726.10642),FloridaStatutes(2016).CountIV failstostateacauseof
        action foral1thereasonsarticulated in the 10thA ffirm ativeD efense, supra,w hich are
        l
        incom orated herein in theirentiretv. Furtherm ore,itis im possible to decipherfrom the
        p ''                              -                -
        allegations in Countlw hich ofthe defendants againstw hom CountIV isbeing broughtdid what,

        çven though Count1is seeking to void a transferto one orthe otherdefendant. A lso,there isno

        factualorlegalbasistoseekSjointandseveral''liabilityinCount1V.

                                                  Page 7 of 11
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                             14thA ffirm ative D efense: CountV attemptsto allege aviolation of

        tsduciarydutybyDefendantBEATRICE NAMM .UnderFloridalaw,'Etloestablishafiduciary
        relationship,a party m ustallege som e degree ofdependency on one side and som e degree of

        undertaking on the othersideto advise,counsel,and protectthew eakerparty.''Taylor W oodrow
        i
        NomesFlorida,Inc.M 4/46-A Cory ,850So.2d536,540-41(Fla.5thDist.Ct.App.2003)
        l
        (quoting Watkinsv.NCNBNat'
                                 lBankofFla.,NA,622 So.2d 1063,1065(Fla.3dDist.Ct.App.
        2003:;accordLanzv.ResolutionTrustCorp.,764F.supp.176,179(S.D.Fla.1991),and
        BankestImports,Inc.v.IscaCorp.,717F.Supp.1537,1541(S.D.Fla.1989).''Whentheparties
        are dealing atarm 'slength,a fiduciary relationship doesnotexistbecausethere isno duty

        imposed on eitherparty to protectorbenefitthe other.''f#.;accord M axw ellv.FirstUnited Bank,
        !
        782So.2d931,934(Fla.4thDist.Ct.App.2001).lntheusualcreditor-debtorrelationshipa
        fiduciarydutydoesnotarise.SeeBarnettBankofWestFloridav.Hooper,498So.2d923,925
        (Fla.1986).Toestablijhafiduciaryrelationship,apartymustallegesomedegreeofdependency
        on oneside and som e degree ofundertaking on the otherside to advise,counseland protectthe

        weakerparty.Brigham v.Brigham,11So.3d374,387(Fla.3rdDCA 2009);Watkinsv.NCNB
        Nat'lBankofFla.,N A.,622So.2d1063,1065(Fla.3dDCA 1993).lnorderforafiduciary
        t
        relationshiptoexistunderFloridalaw,theremustbesubstantialevidenceshowingsome
        j                      '
        lependency by oneparty and som e undertaking by the otherparty to advise,counsel,and protect
        d
        I
        the weakerparty.fanz v.Resolution TrustCorp.,764 F.Supp.at179. CountV failsto statea

        cause ofaction forviolation ofa Gduciary duty.

                              15thA ffirm ative Defense. Plaintiffhasno standing to bring CountV .


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                  28.     16thA ffirm ative Defense: Bea'sBrooklyn'sBestLLC and/orD efendant

    BEATRICE NAMM arenotliabletoPlaintiffforhavingexercisedtheirbusinessjudgmentinthe
    operation ofBea'sBrooklyn'sBestLLC 'Sbusiness,including itdissolution orw inding down.

    I                     17thA ffirm ative D efense: CountVllfailsto state à cause ofaction for
                                                                             ,


    i
    éeclaratoryrelief.The1aw citedinthe10thAffinuativeDefense,supra,isincorporatedhereinin
    theirentirety by reference. Plaintiff,in aram bling CountVII,allegesin shotgun m ode and w ith

    only conclusions,as opposed to ultim ate facts,thatD efendantBEA TRICE N          and/or

    D efendantDELUXE GOURM ET SPECIALTIES LLC should be declared the alterego ofBea's

    Brooklyn'sBestLLC . There isno factualallegation ofultim ate factsthatw ould renderCount

    VI
    1 Ivi
        able.

                  30.     18* A ffirm ative Defense: CountV1Ipurportsto allege a countfor

    declaratory reliefseeking a declaration thatDefendantBEATRICE N A M M and Defendant

    DELUXE GOURM ET SPECIALTIES LLC are the alterego forBea'sBrooklyn'sBestLLC in

    ordertoholdthem liableforthefinaljudgmentsthatPlaintiffobtainedinstatecourt(içstate
    èou14''),whichtinaljudgmentsareattachedtotheAmendedComplaintasExhibitsCIB''andiED''
    (tdstateCourtJudgments'').lfPlaintiffwantedtoholdsaiddefendantsasthealteregoforBea's
    Br
    1
      ooklyn'sBestLLC 'Sasto the State CourtJudgm ents,Plaintiffw asrequired to haveraised and
    I
    rdjudicatedthatmatterinthesameproceedingthatgeneratedtheStateCour:
                                                                     tJudgments.
    1
    I
    Plaintiff,having failed to m ake thatclaim in the State Courtproceedings,Plaintiffisnow barred

    from bringing such an action before thisCourt,whetherasa declaratory action orotherwise.
    i                     19thA ffirm ativeD efense: Asto CountVl1,itisa violation ofdue

    processto obligate D efendantBEATRICE N AM M and/orD efendantDELU XE G OURM ET

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             SPECIALTIESLLC withtheStateCourtFinalJudgment,withouthavingjoinedthem asparties
            and/orhaving allow ed them to defended them selvesin the state coul'
                                                                               tproceedingspriorto the
         t
            entryofthefinaljudgment.
                           32.    20thA fnrm ativeD efense: CountV11isbarred by the doctrine ofwaiver,

            Plaintiffhaving failed to raise thatclaim againstDefendantBEATRICE N AM M and/or
        '@
            D efendantD ELUXE GOU RM ET SPECIAI,TIES LLC in the state courtproceedingspriorto the

            entryofthefinaljudgment.
                           33.    21StAffirm ative D efense: CountVI1isbarred by the doctrine ofm erger

            ofjudgment,Plaintiffhavingfailedtoraisethatclaim againstDefendantBEATRICENAMM
        '
        !and/orDefendantDELUXE GOURM ET SPECIALTIES LLC in thestatecourtproceedingsprior

            totheentryofthefinaljudgment.
                           34.    22ndA ffirm ative Defense: CountV I1isbarred by the doctrine against

             splitting ofcausesofaction,Plaintiffhaving failed to raise thatclaim againstD efendant

            BEATRICE N A M M and/orDefendantDELUXE GOURM ET SPECIALTIES LLC in the state

            courtproceedingspriortotheentryofthefinaljudgment.
                           35.    23rdA ffirm ative D efense:Plaintiffhasunclean hand and should notbe
        l
            granted equitablerelief.
        l


       J                   36. 24thAffirmativeDefense:Plaintiffhasfailedtodoequityandshouldnot
       1
       I
       1
       1
         begrantedequitablerelief.
       1
       '
                           37.    25thAffirm ativeD efense:Florida 1aw follow sthe rjx m erjcan Rule''that

             attolmey'sfeesm ay only be aw arded by a courtpursuantto an entitling statute oran agreem entof

            theparties.SeeFlorldaPatient'
                                        sCompensationFundv.Rowe,472So.2d 1145,1148(F1a.
                                                     Page 10 of 11
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     1985),modified,StandardGuar.Ins.Co.v.Quanstrom,555So.2d828(Fla.1990).Therequest
    forattorney fees contained in Plaintiff'spleading should be dism issed orstricken,and are barred

    underFlorida law .

                   38.       Defendants have retained the undersigned attorney and hasagreed to pay
    1him areasonablefeeforhisservices
    1                                     .


    I
    :
           .W HEREFORE theD efendantsrequestthatthisCourtdenyPlaintiffallreliefrequested

    andawardDefendantstheirincurredattorneyfeesandcosts.Trialbyjurydemandedastoall
    issues so triable.

                                      CERTIFICA TE O F SER VICE

           lHEREBY CERTT Y thatonN ember28,                     ,là'bntxyt
                                                                         rueandcorrectcepyofthe
    foregoingbyE-maildeliveryJohnE.Pq coun forPlaintiffûjaye@s                        andBernice .
    Lee,counselforPlaintiff(blee@sflp.law).                wxx
                                                                            N


                         '
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                                                         (407)896-8061(fax)
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                                                         SecondaryE-M ai1:Gus@yjlBenitez.com




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                                                                   IN THE CIRCU IT COU RT 0F THE
                                                                   15thJUD ICIA L CIRCU IT , IN AN D
                                                                   FOR PALM BEA CH CO UNTY ,FLORIDA

            TTT FO OD S H OLDIN G COM PAN Y LLC,
            '     Plaintiff,

               V.                                                  CA SE N U M BER :15-CA -6286

            JBEA'SBROOKLYN'SBEST,LLC,                              TR IAL BY JURY DEM AND ED .
            I         D efendant.
                                                      /

                          AN SW ER,AFFIRM ATIV E D EFENSE S AND CO UNTERC LAIM S

                      COM ES N OW D efendant,BEA 'S BROOKLYN 'S BEST,LLC,by and through the

               undersignedattorneys,andfilesthisitsAnswer,Ay rmatiyeDefensesandCounterclaims,and
            j.
            1 statesin supportthereofasfollow s:
            I


            I                                             Axsw Elt

                                    DefendantdenieseachandeveryallegationcontainedintheVerfed
               Complaintfiled by Plaintiff,unlessspecifically adm itted herein.

                             2.     D efendantadm itsParagraphs 1,2,3,and 5.

           ;                 3.      Asto Paragraphs7,10,11,12,14,l6,17,18 and 19,Defendantdeniesall
           (
               allegations,im plications and conclusions oflaw ,and statesthatthe docum entsreferred to speak
           '
               forthem selves.
           1
           '
                                     Asto Paragraph 6,adm itthatExhibit$W ''wassigned by Defendant,but

           1otherwise statesthatExhibitEGA ''speaks foritself.
           k                                                   .
           1
           ;
                                     AstoParagraph 13,admitthatExhibitEEB''wassignedbyDefendant,but
           !
           (otherwise statesthatExhibitECB''speaksforitself.

           !

                                                                                                  Page 1of 7
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                                    M 'FIR M ATIVE DEFEN SES

                   6.     Affirm ative Defense Num ber 1:Plaintiffrefused to accepttim ely

    paym entfrom D efendantofthe am ountsdue undertheprom issory notesattached asExhibits

    (QA''and(IB''tothe VerfedComplaint,inviolationofthetermsandconditionsofthesaid
    prom issory notes,m aking itim possible forDefendantto com ply therew ith. Specifically,under
    i
    Exhibit<$A'' Plaintiffallegesthata defaultoccurred when the m onthly paym entw asnotpaid on
    I
    orbeforeM ay 15,2015.N o defaultoccurred asa resultofnon-paym entby M ay 15,2015.

    Exhibit($A'',draftedbyPlaintiff,specificallyprovidesforagraceperiodoi-five(5)business
    days,thereby m aking the actualdue dateunderthe prom issory note m arked asExhibitûW ''M ay

    26,2015,notM ay 15,2015. In addition thereto,Exhibit$$A ''providesthatDefendantisnotin

    defaultuntilten(10)daysafterthemonthlyamountSdisdue.''Therefore,thepaymentdueunder
    ExhibitEIA''could notbe in defaultuntilJune 4,2015. In spite ofthe unequivocalterm softhe

    prom issory notes,Plaintiffrefused tenderby D efendantofthe paym entpriorto June 4,2015,and

     continuesto refuse paym ent,in m aterialbreach oftheprom issory note attached asExhibit1W ''.

    Plaintiffshould thereforebe barred and estopped from declaring a defaultundertheprom issory

    notesattached asExhibit$'A''. Furtherm ore,underExhibitCIB'' Plaintiffallegesthata default

     g
     I
       ccurredwhenthemonthlypaymentwasnotpaidonorbeforeMay30,2015.Nodefault
     lccurredasaresultofnon-paym entby M ay 30,2015. Theprom issorynoteattachedExhibit
     o
     i
     I
     6
     j
     (B'1'anddraftedbyPlaintiff,specificallyprovidesforagraceperiodoffive(5)businessdays,
    thereby m aking the actualdue date fortheM ay paym entJune 4,2015,notM ay 30,2015. ln

     addition thereto,the prom issory note attached asExhibit$% ''providesthatD efendantisnotin

     d
     ,efaultuntilten(10)daysafterthemonthlyamountttisdue.''Therefore,thepaymentdueunder

                                                                                       Page 2 of 7
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    theprom issory note attached asExhibit$$B''wasnotin defaultuntilJune 15,2015. Plaintiff

        neverthelessrefused tenderby D efendantofthe paym entpriorto June 15,2015,and continuesto

    refuse paym ent,in m aterialbreach ofthe parties'the prom issory noteattached asExhibitç% ''.

    Plaintiffshould thereforebe barred and estopped from declaring a defaultundertheprom issory

    I
        notes attached asExhibit$% ''. D efendantis able and willing to m ake al1paym ents due underthe
    1
    I
    1PromissorynotesattachedasExhibits$W''andt;B''totheVer6edComplaint.
    i
                              A ffirm ative D efense Num ber 2:Plaintiff'srefusalto accepttim ely

    paym entofthe am ountsdue underthe prom issory notes attached asExhibitsdW ''and 1$B''is

        unreasonable,unjustifiableand/orunconscionable,anditviolatestheimpliedandstatutory
        covenantofgoodfaithandfairdealing.Therefusaltoacceptpaymentswasunjustifiedand
        unreasonable,and occurred priorto any alleged defaultby D efendant,and barsthisaction in its

        entirety.
    i
    i                 8.      Affirm ative Defense Num ber3:Thepartieshave notexecuted a security
    l
    'agreementandthereisnosecurityinteresttoforeclose(andnoneisattachedtotheVerfed
    1
    ,
        Complaint).ThepromissorynotesattachedasExhibits$$A''andç;B''totheVer6edCqmplaint
    1
        are notenforceable security agreem ents;thepartiesnevernegotiated orexecuted a security

        agreem ent,norw asthere a m eeting ofthe m indsbetween the parties asto the term sand

        conditionsforsam e.

                      9.      Affirm ative Defense N um ber 4:Plaintiffhas failed to state a cause of

        action underCountlbased on the term sand conditions ofthe prom issory noteattached as

        Exhibits$W ''totheVersedComplaint,asmorefullyallegedundertheAftirmativeDefense1,
        above.

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                   10.    Affirm ative Defense Num ber 5:Plaintiffhas failed to state a cause of

    action underCount11based on the term sand conditions ofthe prom issory note attached as

    !
    Exhibits($B''totheVerfedComplaint,asmorefullyallegedundertheAffirmativeDefense1,
    above.

                   11.    Affirm ative Defense Num ber 6:Plaintiffhasfailed to state a cause of

    i
    actionunderCount11lbasedonthefactthatithasnotattachedtoitsVerfedComplainta
    ;

    security agreem entthatm ay be enforced orforeclosed.

                          Affirm ativeD efense Num ber7:Underthe factsasalleged in the

    Affirm ative Defense 1,above,itwould beunconscionableto allow Plaintiffto acceleratethe

    promissorynotesattachedasExhibits$$A''andddB''totheVer@edColnplaint.
                          ThepromissorynotesattachedasExhibits('A''and$$B''totheVerfed
    Complaint,asw ellasapplicable Florida law ,provide forthe recovery ofattorney feesand costs.

                   14.    Defendanthasretained the services ofthe undersigned 1aw firm and has

    incurred attonzey fees and costsw hich are recoverable in thisaction.

           W HEREFORE Defendantrequestthatthis Courtdeny Plaintiffal1reliefand award

    Defendantal1its incurred attorney feesand costs.

                                          COU NTER CLAIM S

                CO UNT I -INTERFERENC E W ITH BU SINE SS RELATIO NSH IP

                          This isan action fortortiousinterferencew ith a businessrelationship.

                   16.    There existabusinessrelationship between D efendantand hercustom ers.

                   17.    Plaintiftlata11timesmaterialhereto,hadknowledgeofDefendant's
    business relationship w ith itscustom ers.

                                                                                       Page4 of 7
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                                 Plaintiff,intentionallyandwithoutjustification,intlrferedwiththe
        Defendant'sadvantagesbusinessrelationship and hercustom ersby contacting them and stating

        tothem thatDefendantwasin defaultand owedPlaintiffmonies,and by demandingthatthe

        custom erforward to Plaintiffallm onies ow ed by D efendant'scustom er,instead ofpaying

        D efendant;attached hereto and incorporated herein asExhibit(CA A''isa representative lettersent

        to D efendant'scustom ersby Plaintiff's counselon oraboutJune 1, 2015.

                      19.     A sa directresultofthe aforementioned interference,Defendanthasbeen

        dam aged,which dam ages include,butare notlim ited to:lossofreputation;lossofcustom ers;

        m oniesow ed by custom ersbeing w ithheld'
                                                 ,dam ageto thebusinessrelationship w ith those
                                                            .




        custom ers;and/orotherconsequentialand/orincidentaldam ages.

               W HEREFORE D efendantrequestthatthe CourtgrantD efendantallallow able dam ages,

        pluspost-judgmentandpre-judgmentinterestandcourtcosts.Trialbyjurydemanded.
                        CO U NT 11 -BREA CH OF IM PLIED AND STA TU TO RY
                         C O VENA NT OF G OO D FM TH A ND FM R DEA LING

                              This isan action forbreach ofthe im plied and statutory covenantofgood

        faith and fairdealing.

                      21.    A lltheallegationscontained in Paragraphs 16-19 are re-alleged herein.

                      22.     ln com m ercialtransactions good faith is required in the perform ance and

        ènforcementofal1agreementsorduties,including,specifically,theprom issorynotesattached as
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        Exhi
        l bitsCW''andç$B''totheVer6edComplaint,whichareincorporatedhereinintheirentiretyby
        reference.

                             Plaintiffhasviolated the im plied and statutory covenantofgood faith and



                                                                                             Page 5 of 7
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R




           fairdealingbyintentionallyandwithoutjustification,contactingDefendant'scustomersstating
           to them thatDefendantw as in defaultand owed Plaintiffm onies,and by dem anding thatthe

           oustom erforw ard to Plaintiffallm oniesow ed by Defendant'scustom er,instead ofpaying
       '

           I
           D rendant.
           l e

           ;              24.    Plaintiffhadno righttocontactDefendant'scustom ers.
           i

                                 Theparties neveragreed thatPlaintiffcould take such action,and neither

           thepromissorynotesattachedasExhibits(W ''and$%''totheVersedComplaint,norstatutory
           law,allows Plaintiffto take such action

                          26.    As a directresultofPlaintiff's breach ofthe implied and statutory

           covenantofgood faith and fairdealing,Defendanthasbeen dam aged,D efendanthas been
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           '
           1
           dam aged,w hich dam agesinclude,butare notlim ited to:loss ofreputation;lossofcustom ers;

           m onies ow ed by custom ers being w ithheld;dam age to the business relationship w ith those

           Lustomers;and/orotherconsequentialand/orincidentaldamages.
                  W HEREFORE Defendantrequestthatthe CourtgrantD efendanta1lallow able dam ages,

           pluspost-judgmentandpre-judgmentinterestandcourtcosts.Trialbyjurydemanded.
                                            C OU NT lII-DEFA M ATIO N

                                 Thisis an action fordefal
                                                         u ation.

           !                     A 11the allegationscontained in Paragraphs 16-19 and 22-26 arere-alleged
           i
           her
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              ein.

                          29.    Plaintiff sstatem entsto D efendant'scustom ersthatDefendantwas in

           defaultunderthepromissorynotesattachedasExhibits$$A''and(SB''totheVerfedComplaint
           j
           '         '
           F asa false statem ent.


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                         30. ThatfalsestatementhasresultedininjurytoDeftndant'sreputationand
        lm age.

        I
                                As a directresultofPlaintiff's defam atory statem entsto D efendant's

        custom ers,and others,Defendanthasbeen dam aged,w hich dam ages include,butare notlim ited
        I
        l
        t
            o:lossofreputation;lossofcustom ers;m onies ow ed by custom ers being w ithheld;dam ageto

        l
        thebusinessrelationship with those custom ers;and/orotherconsequentialand/orincidental
        1

        dam ages.

                  W HEREFORE D efendantrequestthatthe CourtgrantDefendantallallowable dam ages,

        pluspost-judgmentandpre-judgmentinterestandcourtéosts.Trialbyjurydemanded.
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        !
                                         cslm ncv . ovssuvlcs
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        1
        '       lHEREBY CERTIFY thatacopyoftheforegoingwasdeliveredonJupe11,2015,
        rlectroniqallyGledwith the Clerk oftheCourtby uslngtheFloridae-portalfillng system ,which
        jystem wlllsendanoticeofelectronicfilingtoal1attorneysofrecord.
        !
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